Filed 08/05/19                                          Case 19-12997                                                    Doc 14



          1      Total Pages: 3

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                 FINANCIAL SERVICES VEHICLE TRUST
          7

          8                                     UNITED STATES BANKRUPTCY COURT

          9                                 EASTERN DISTRICT OF CALIFORNIA (FRESNO)

          10     IN RE:                                                     Case No 19-12997
                                                                            (Chapter 7 Proceeding)
          11     Virginia Reyes
                                                                            DCN: CAS-001
          12                                                                DECLARATION IN SUPPORT OF FINANCIAL
                                                                            SERVICES VEHICLE TRUST'S MOTION FOR
          13                                                                RELIEF FROM STAY RE: 2017 BMW 5 Series
                                                                            530i Sedan 4D
          14
                 Debtor.                                                    Date: September 11, 2019
          15                                                                Time: 9:30 A.M.
                                                                            Location: 2500 Tulare Street, Fifth Floor,
                                                                            Courtroom 13,
          16                                                                Fresno, CA 93721
                                                                    /       Judge: Rene Lastreto II
          17

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                 Declaration in Support Of Financial Services Vehicle Trust's Motion for Relief from Stay

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Filed 08/05/19   Case 19-12997   Doc 14
Filed 08/05/19   Case 19-12997   Doc 14
